21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 1 of
                                       36


                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TEXAS (EL PASO)


   In re:                                    §         Chapter 11
                                             §
   Flix Brewhouse Texas V LLC,               §         Case No. 21-30526 (HCM)
                                             §
            Debtor.                          §
                                             §
    GLOBAL NOTES, METHODOLOGY, & SPECIFIC DISCLOSURES REGARDING THE DEBTOR’S
        SCHEDULES OF ASSETS & LIABILITIES & STATEMENT OF FINANCIAL AFFAIRS

  A. Introduction

  Flix Brewhouse Texas V LLC (the “Debtor”) with the assistance of its advisors, has filed its
  Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial Affairs
  (the “SOFA,” and together with the Schedules, the “Schedules and SOFA”) with the United
  States Bankruptcy Court for the Western District of Texas (El Paso) (the “Bankruptcy Court”),
  under § 521 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”)
  and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

  These Global Notes, Methodology, & Specific Disclosures Regarding the Debtor’s Schedules of
  Assets & Liabilities & Statement of Financial Affairs (the “Notes”) pertain to, are incorporated
  by reference in, and compose an integral part of the Schedules and SOFA. The Notes should be
  referred to and considered in connection with any review of the Schedules and SOFA.

  The Schedules and SOFA do not represent financial statements prepared according to Generally
  Accepted Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
  reconciled with the financial statements of the Debtor (whether publicly filed or otherwise). The
  Schedules and SOFA contain unaudited information that is subject to further review and potential
  adjustment and reflect the Debtor’s reasonable efforts to report the assets and liabilities of the
  Debtor.

  In preparing the Schedules and SOFA, the Debtor relied on information derived from its books
  and records that was available at the time of such preparation. Although the Debtor has made
  reasonable efforts to ensure the accuracy and completeness of such financial information,
  inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
  information, may cause a material change to the Schedules and SOFA.

  The Debtor and its officers, agents, attorneys, and financial advisors do not guarantee or warrant
  the accuracy or completeness of the data provided in the Schedules and SOFA and are not liable
  for any loss or injury arising out of or caused (in whole or in part) by acts or omissions (whether
  negligent or otherwise) in procuring, compiling, collecting, interpreting, reporting,
  communicating, or delivering the information contained in the Schedules and SOFA. Except as
  expressly required by the Bankruptcy Code, the Debtor and its officers, agents, attorneys, and
  financial advisors do not undertake any obligation to update, modify, revise, or recategorize the


                                                                                                    1
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 2 of
                                       36


  information provided in the Schedules and SOFA, or to notify any third party should the
  information be updated, modified, revised, or recategorized. The Debtor, on behalf of itself, its
  officers, agents, and advisors reserves all rights and disclaims any liability to any third party
  arising out of, or related to, the information in the Schedules and SOFA.

  The Schedules and SOFA have been signed by Allan L. Reagan, the President of the Debtor’s
  Manager, Hospitality Investors Inc. (the “Debtor’s Manager”). In reviewing and signing the
  Schedules and SOFA, Mr. Reagan relied on the efforts, statements, and representations of the
  Debtor’s other agents and professionals. Mr. Reagan has not (and could not have) personally
  verified the accuracy of each such statement and representation, including, for example,
  statements and representations concerning creditors’ addresses, amounts owed to creditors, and
  classification of such amounts.

  B. General Notes & Overview of Methodology

     1. Reservation of Rights. The Debtor made reasonable efforts to prepare and file
        complete and accurate Schedules and SOFA. Nevertheless, inadvertent errors or
        omissions may exist. The Debtor reserves all rights to amend or supplement the Schedules
        and SOFA from time to time, in all respects, as may be necessary or appropriate, including,
        without limitation, the rights to: amend the Schedules and SOFA with respect to any claim
        (“Claim”) description or designation; dispute or otherwise assert offsets or defenses to
        any Claim reflected in the Schedules and SOFA as to amount, liability, priority, status, or
        classification; subsequently designate any Claim as “disputed,” “contingent,” or
        “unliquidated”; or object to the extent, validity, enforceability, priority, or avoidability of
        any Claim. No failure to designate a Claim in the Schedules and SOFA as “disputed,”
        “contingent,” or “unliquidated” shall constitute an admission by the Debtor that such
        Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does
        not constitute an admission of liability by the Debtor. Nothing contained in the Schedules
        and SOFA constitutes a waiver of rights with respect to the Debtor’s chapter 11 case,
        including, without limitation, issues involving Claims, substantive consolidation,
        defenses, equitable subordination, recharacterization, or causes of action arising under
        the provisions of chapter 5 of the Bankruptcy Code or any other laws regarding recovery
        of assets or avoidance of transfers. No specific reservation of rights contained elsewhere
        in the Notes limits the general reservation of rights contained in this paragraph.

         The listing in the Schedules or SOFA by the Debtor of any obligation of the Debtor reflects
         what appears in the Debtor’s books and records and is not an admission or conclusion by
         the Debtor regarding whether such amount should or would be allowed as a Claim or how
         such obligations may be classified or characterized in a plan of reorganization or by the
         Bankruptcy Court.

     2. Description of Case. On July 12, 2021 (the “Petition Date”), the Debtor filed a
        voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtor
        continues to manage its financial affairs as debtor in possession under Bankruptcy Code
        §§ 1107(a) and 1108.



                                                                                                     2
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 3 of
                                       36


     3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome,
        and inefficient for the Debtor to obtain current market valuations for all of its assets.
        Accordingly, unless otherwise indicated, the Schedules and SOFA reflect net book values
        as of the close of business on July 12, 2021 in the Debtor’s books and records. Additionally,
        because the book values of certain assets, such as patents, trademarks, trade names, and
        copyrights, may materially differ from their fair market values, they may be listed as
        having undetermined amounts as of the Petition Date. Furthermore, assets that have fully
        depreciated or were expensed for accounting purposes may have no net book value and
        may not appear in the Schedules and SOFA.

     4. Recharacterization. Despite the Debtor’s reasonable efforts to properly characterize,
        classify, categorize, or designate certain Claims, assets, executory contracts, unexpired
        leases, and other items reported in the Schedules and SOFA, the Debtor may have
        improperly characterized, classified, categorized, designated, or omitted certain items due
        to the complexity of the Debtor’s business. The Debtor accordingly reserves its rights to
        recharacterize, reclassify, recategorize, redesignate, add, or delete items reported in the
        Schedules and SOFA as necessary or appropriate, as additional information becomes
        available, including, without limitation, whether contracts or leases listed in the Schedules
        and SOFA are deemed executory or unexpired as of the Petition Date and remain
        executory and unexpired postpetition.

     5. Excluded Assets & Liabilities. The Debtor has sought to allocate liabilities between
        the prepetition and postpetition periods based on the information and research conducted
        in connection with the preparation of the Schedules and SOFA. As additional information
        becomes available and further research is conducted, the allocation of liabilities between
        the prepetition and postpetition periods may change.

        The liabilities listed on the Schedules do not reflect any analysis of Claims under
        Bankruptcy Code § 503(b)(9). Accordingly, the Debtor reserves its rights to dispute or
        challenge the validity of any such Claims or any characterization of the structure of any
        such transaction or any document or instrument related to any Claim.

        The Debtor has excluded certain categories of assets, tax accruals, and liabilities from the
        Schedules and SOFA, including, without limitation, deferred gains. In addition, certain
        immaterial assets and liabilities may have been excluded.

     6. Insiders. Solely for purposes of the Schedules and SOFA, the Debtor defines “insiders”
        to include the following: (a) manager; (b) senior level officers; (c) equity holders holding
        more than 10% of the equity of the Debtor entity; (d) the Debtor’s affiliates; and
        (e) relatives of any of the foregoing (to the extent known by the Debtor). Entities have been
        listed as “insiders” for informational purposes only and their inclusion is not an admission
        that any such entity is an insider for purposes of Bankruptcy Code § 101(31).

     7. Intellectual Property Rights. The exclusion of any intellectual property right does not
        constitute an admission that such intellectual property right has been abandoned,
        terminated, assigned, expired by its terms, or otherwise transferred under a sale,

                                                                                                   3
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 4 of
                                       36


         acquisition, or other transaction. Conversely, inclusion of any intellectual property right
         does not constitute an admission that such intellectual property right has not been
         abandoned, terminated, assigned, expired by its terms, or otherwise transferred under a
         sale, acquisition, or other transaction.

     8. Executory Contracts & Unexpired Leases. The Debtor made diligent attempts to
        include all of its executory contracts and unexpired lease obligations on Schedule G.
        Nevertheless, the Debtor may have inadvertently failed to list them all. Nothing in the
        Schedules or SOFA is an admission or determination as to the legal status of any executory
        contract or lease, including whether a lease is a true lease or a financing arrangement. Nor
        does any such listing of executory contracts and unexpired leases reflect the Debtor’s
        determination of whether to assume and assign or to reject such contract or lease.

     9. Materialman’s & Mechanic’s Liens. The assets listed in the Schedules and SOFA are
        presented without consideration of any materialman’s and mechanic’s liens that may exist.

     10. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
         E/F as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as “executory”
         or “unexpired,” does not constitute an admission by the Debtor of the legal rights of the
         claimant, or a waiver of the Debtor’s rights to recharacterize or reclassify such Claims or
         contracts or leases, or to effect setoffs against such Claims.

     11. Claims Description. Schedules D and E/F permit the Debtor to designate a Claim as
         “disputed,” “contingent,” and “unliquidated.” Any failure to designate a Claim on a
         Debtor’s Schedules and SOFA as “disputed,” “contingent,” or “unliquidated” does not
         constitute an admission by that Debtor that such amount is not “disputed,” “contingent,”
         or “unliquidated,” or that such Claim is not subject to objection. Moreover, listing a Claim
         does not constitute an admission of liability by the Debtor.

     12. Causes of Action. Despite its reasonable efforts to identify all known assets, the Debtor
         may not have listed all of its causes of action or potential causes of action against third
         parties as assets in the Schedules and SOFA, including, without limitation, causes of
         actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
         laws regarding recovery of assets or avoidance of transfers. The Debtor reserves all of its
         rights with respect to any cause of action (including avoidance actions), controversy, right
         of setoff, cross-claim, counterclaim, or recoupment, and any Claim on contracts or for
         breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
         guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
         license, and franchise of any kind or character whatsoever, known, unknown, fixed or
         contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
         disputed or undisputed, secured or unsecured, assertible directly or derivatively, whether
         arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
         under any other theory of law (collectively, “Causes of Action”) the Debtor may have,
         and neither these Notes nor the Schedules and SOFA may be deemed a waiver of any
         Claims or Causes of Action or in any way prejudice or impair the assertion of such Claims
         or Causes of Action.

                                                                                                       4
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 5 of
                                       36


     13. Summary of Significant Reporting Policies. The following is a summary of
         significant reporting policies:

            a. Undetermined Amounts. The description of an amount as “unknown,”
               “TBD,” or “undetermined” is not intended to reflect the materiality of such
               amount.
            b. Totals. All totals included in the Schedules and SOFA represent totals of
               all known amounts. To the extent there are unknown or undetermined
               amounts, the actual total may differ from the listed total.
            c. Liens. Property and equipment listed in the Schedules and SOFA are
               presented without consideration of any liens that may attach (or have
               attached) to such property and equipment.

     14. Estimates & Assumptions. Because of the timing of the filings, management was
         required to make certain estimates and assumptions that affected the reported amounts
         of these assets and liabilities. Actual amounts may materially differ from those estimates.

     15. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

     16. Intercompany. The listing in the Schedules or SOFA (including, without limitation,
         Schedule A/B or Schedule E/F) by the Debtor of any obligation between the Debtor and
         any affiliated entity of the Debtor is a statement of what appears in the Debtors’ books and
         records and does not reflect any admission or conclusion of the Debtor regarding whether
         such amount would be allowed as a Claim or how such obligations may be classified or
         characterized in a plan of reorganization or by the Bankruptcy Court. Intercompany
         balances were generally not reconciled and not scheduled.

     17. Setoffs. The Debtor incurs certain offsets and other similar rights during the ordinary
         course of its business. Offsets in the ordinary course can result from various items,
         including, without limitation, pricing discrepancies, returns, refunds, warranties, debit
         memos, credits, and other disputes between the Debtor and its suppliers and customers.
         These offsets and other similar rights are consistent with the ordinary course of business
         in the Debtor’s industry and are not tracked separately. Therefore, although such offsets
         and other similar rights may have been accounted for when certain amounts were included
         in the Schedules, offsets are not independently accounted for, and as such, are or may be
         excluded from the Schedules and SOFA.

     18. Notes Control. If the Schedules and SOFA differ from the Notes, the Notes control.

  C. Specific Disclosures with Respect to the Schedules

     1. Creditor Addresses. Creditor addresses not listed in the Debtor’s schedules may be in
        the official creditor matrix filed with the Court.

     2. Schedule A/B Part 5: Inventory, Excluding Agriculture Assets. The Debtor has
        listed certain raw materials owned by Woodward Center Inc. (“WCI”), Debtor’s


                                                                                                   5
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 6 of
                                       36


        concessionaire which transacts all the alcoholic beverage purchases, manufacturing, and
        sales for the Debtor.

     3. Schedule A/B Part 7: Office Furniture, Fixtures, & Equipment; & Collectibles.
        Dollar amounts are presented net of accumulated depreciation and other adjustments as
        set forth in the Debtor’s “Depreciation Expense Report,” dated as of December 31, 2019.
        The Depreciation Expense Report was prepared as part of a financial audit conducted for
        Flix Entertainment LLC (“FELLC”), the Debtor’s sole member and parent entity. No
        depreciation since December 31, 2019 was factored into the scheduled values.

     4. Schedule A/B Part 9: Real Property. The Debtor does not own any real property. The
        Debtor has listed its real property lease in Schedule A/B #55, including its leasehold
        interest/improvements. The value presented for leasehold improvements is the gross
        amount paid by Debtor for such improvements, without regard to any tenant
        improvement allowance, less accumulated depreciation through December 31, 2019.

     5. Schedule A/B Part 11: All Other Assets. The Debtor has listed a potential cause of
        action against its landlord arising out of a lease dispute.

  D. Specific Disclosures with Respect to the SOFA

     1. SOFA #3: Certain payments or transfers to creditors within 90 days before
        filing this case. SOFA #3 includes any disbursement made by a third-party to the benefit
        of the Debtor within 90 days before the Petition Date, except for those made to insiders
        (which payment appears in response to SOFA #4) and bankruptcy professionals (which
        appear in response to SOFA #11). The amount listed in SOFA #3 reflects the Debtor’s
        disbursements netted against any check level detail, thus, to the extent a disbursement
        was made to pay for multiple invoices, only one entry has been listed on SOFA #3.

     2. SOFA #4: Payments or other transfers of property made within 1 year before
        filing this case that benefited any insider. As a subsidiary of FELLC, the Debtor
        operates its business under a cash management system administered by FELLC to collect
        funds from the Debtor’s operations and pay various operating and administrative
        expenses (the “Cash Management System”). The Cash Management System allows
        the Debtor and its non-Debtor affiliates to efficiently collect and transfer cash generated
        by the Debtor’s business to pay its share of consolidated financial obligations. The Cash
        Management System generally consists of a series of “zero-balance” accounts that are
        swept each business day into a main concentration account maintained by FELLC. The
        Debtor has provided a schedule of historical transactions made to FELLC via the Cash
        Management System. No determination has been made as to whether any of these
        transfers constitute preferential transfers.

     3. SOFA #11: Payments related to bankruptcy. FELLC paid retainers on the Debtor’s
        behalf to the Debtor’s proposed attorneys as described in detail in its Disclosure of
        Compensation of Attorney for Debtor(s), and in its engagement letters with its
        professionals.


                                                                                                 6
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 7 of
                                       36


     4. SOFA #16: Does the Debtor Collect and Retain Personally Identifiable
        Information of Customers? The Debtor collects and retains a list of customer names,
        e-mail addresses, and birthdays (not dates of birth), collected through the Debtor’s
        website, which has been used for its loyalty program. This information was not listed in
        Schedule A/B.




                                                                                               7
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 8 of
                                              36
 Fill in this information to identify the case:

 Debtor name            Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               21-30526
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,132,882.46

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        4,027,075.38

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        8,159,957.84


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,717,548.43


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       15,417,265.52


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         17,134,813.95




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 9 of
                                               36
 Fill in this information to identify the case:

 Debtor name         Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30526
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Checking                        6582                                       $499.00




           3.2.     Comerica Bank (-$30.00 balance)                         Credit card processing          3092                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $499.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     El Paso Electric Company security deposit                                                                                       $35,000.00




           7.2.     Texas Gas Service Company security deposit                                                                                       $2,871.00
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 10 of
                                               36
 Debtor           Flix Brewhouse Texas V LLC                                                  Case number (If known) 21-30526
                  Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Insurance - property, general liability, umbrella, and workers compensation
           8.1.     The Nowell Agency                                                                                                       $3,436.00




 9.        Total of Part 2.                                                                                                           $41,307.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used      Current value of
                                                      physical inventory      debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Food - perishable pantry
           items                                      6/30/21                           $2,404.00                                           $2,404.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Supplies - kitchen,
           cleaning, paper, and bar                   6/30/21                           $6,978.00                                           $6,978.00




 23.       Total of Part 5.                                                                                                             $9,382.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 11 of
                                               36
 Debtor         Flix Brewhouse Texas V LLC                                                       Case number (If known) 21-30526
                Name


               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           See Furnishings section of attached
           Depreciation Expense Report                                                         $0.00                                        $983,205.20



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                $983,205.20
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 12 of
                                               36
 Debtor         Flix Brewhouse Texas V LLC                                                    Case number (If known) 21-30526
                Name



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See Computer Equipment, Kitchen and Bar
           Equipment, Audiovisual Equipment, China,
           Glass, Silver, Linen, Theater Equipment,
           Brewery Equipment, and Purchased Software
           sections of attached Depreciation Expense
           Report                                                                  $2,992,682.18                                        $2,992,682.18


           Carbonation equipment leased from Airgas
           International Carbonation                                                        $0.00                                                   $0.00


           Dishwasher equipment leased from Ecolab
           Institutional                                                                    $0.00                                                   $0.00


           Beverage fountain equipment leased from
           Pepsi Co                                                                         $0.00                                                   $0.00




 51.       Total of Part 8.                                                                                                         $2,992,682.18
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used      Current value of
           property                                       extent of           debtor's interest      for current value          debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 13 of
                                               36
 Debtor         Flix Brewhouse Texas V LLC                                                   Case number (If known) 21-30526
                Name

            55.1.    Leasehold
                     improvements on
                     leased real estate at
                     6450 N Desert Blvd,
                     Bldg 12, El Paso, TX
                     79912
                     See Leasehold
                     Improvements and
                     Signs Permanent
                     sections of attached
                     Depreciation                         Lessee of real
                     Expense Report                       estate                   $4,132,882.46                                      $4,132,882.46


            55.2.    Lease of 6450 N
                     Desert Blvd, Bldg 12,
                     El Paso, TX 79912
                     See Schedule G                       Lease                             $0.00                                                $0.00




 56.        Total of Part 9.                                                                                                       $4,132,882.46
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 14 of
                                               36
 Debtor         Flix Brewhouse Texas V LLC                                                   Case number (If known) 21-30526
                Name



           Cause of action against ROP Artcraft LLC (not yet filed)                                                                 Unknown
           Nature of claim         Lease dispute
           Amount requested                            $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                           $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 15 of
                                               36
 Debtor          Flix Brewhouse Texas V LLC                                                                          Case number (If known) 21-30526
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $499.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $41,307.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $9,382.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $983,205.20

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,992,682.18

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,132,882.46

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $4,027,075.38            + 91b.            $4,132,882.46


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,159,957.84




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 16 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 17 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 18 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 19 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 20 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 21 of
                                        36
21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 22 of
                                        36
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 23 of
                                               36
 Fill in this information to identify the case:

 Debtor name         Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)             21-30526
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   El Paso Electric                               Describe debtor's property that is subject to a lien                     $3,986.90               $35,000.00
       Creditor's Name                                Security deposit for utilities (Schedule A)
       P.O. Box 982
       El Paso, TX 79960-0982
       Creditor's mailing address                     Describe the lien
                                                      Security deposit
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8159
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       El Paso Tax
 2.2                                                                                                                       $284,852.72             $2,992,682.18
       Assessor-Collector                             Describe debtor's property that is subject to a lien
       Creditor's Name                                Certain Computer Equipment, Kitchen and
                                                      Bar Equipment, Audiovisual Equipment,
                                                      China Glass, Silver, Linen, Theater
                                                      Equipment, Brewery Equipment, and
                                                      Purchased Software described in Schedule
       P.O. Box 2992                                  A/B #50
       El Paso, TX 79999-2992
       Creditor's mailing address                     Describe the lien
                                                      Personal property tax - $167,533 for 2020;
                                                      $117,320 estimated to date for 2021
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 24 of
                                               36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)       21-30526
              Name

        Last 4 digits of account number
        5519
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    ROP Artcraft LLC                              Describe debtor's property that is subject to a lien                 $1,427,963.59        $8,108,769.84
        Creditor's Name                               Furniture, fixtures and equipment (Schedule
                                                      A/B, items 39, 50, 55.1); additional contingent,
        106 Mesa Park Drive                           disputed, unliquidated claim for future rents
        El Paso, TX 79912
        Creditor's mailing address                    Describe the lien
                                                      Landlord
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                        Disputed




        Texas Gas Service
 2.4                                                                                                                               $745.22           $2,871.00
        Company                                       Describe debtor's property that is subject to a lien
        Creditor's Name                               Security deposit for utilities (Schedule A)
        P.O. Box 219913
        Kansas City, MO
        64121-9913
        Creditor's mailing address                    Describe the lien
                                                      Security deposit
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $1,717,548.4
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         3

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
      21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 25 of
                                              36
 Debtor       Flix Brewhouse Texas V LLC                                                        Case number (if known)         21-30526
              Name

 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Delgado Acosta Spencer Linebarger
        221 North Kansas St                                                                               Line   2.2
        El Paso, TX 79901




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 26 of
                                                36
 Fill in this information to identify the case:

 Debtor name         Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)           21-30526
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operation                             Contingent
           P.O. Box 7346                                                Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Texas Comptroller of Public                               Check all that apply.
           Accounts                                                     Contingent
           P.O. Box 13528 Capitol Station                               Unliquidated
           Revenue Accounting Divison -                                 Disputed
           Bankruptcy
           Austin, TX 78711
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice only

           Last 4 digits of account number 9701                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                   47602                                 Best Case Bankruptcy
       21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 27 of
                                               36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,400.00
          1570 Cinema Services LTD                                              Contingent
          224 Pine Road                                                         Unliquidated
          Kemah, TX 77565                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $197.62
          4 Over International LLC                                              Contingent
          1225 Los Angeles Street                                               Unliquidated
          Glendale, CA 91207                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,235.57
          ACC Business                                                          Contingent
          P.O. Box 105306                                                       Unliquidated
          Atlanta, GA 30348-5306                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0182
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $338.88
          Airgas International Carbonation                                      Contingent
          2530 Sever Road                                                       Unliquidated
          Suite 300                                                             Disputed
          Dallas, TX 75373
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number       3041                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cinema Breweries Inc                                                  Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $298.00
          CineVizion LLC                                                        Contingent
          5301 Melrose Avenue                                                   Unliquidated
          Suite B-210                                                           Disputed
          Los Angeles, CA 90038
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,631.70
          Country Malt                                                          Contingent
          P.O. Box 51602                                                        Unliquidated
          Los Angeles, CA 90051-5902                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 28 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Davis Wright Tremaine LLP
          Attention: J. Riley Lagesen                                           Contingent
          1300 SW Fifth Avenue                                                  Unliquidated
          Suite 2400                                                            Disputed
          Portland, OR 97201-5610
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $895.01
          Digital Light Source LLC                                              Contingent
          2768 Santa Ynez Avenue                                                Unliquidated
          Simi Valley, CA 93063                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $414.64
          Direct TV                                                             Contingent
          P.O. Box 105249                                                       Unliquidated
          Atlanta, GA 30348-5249                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       5392
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,988.58
          Ecolab Institutional                                                  Contingent
          P.O. Box 70343                                                        Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,525.99
          Ecolab Pest Elimination                                               Contingent
          26252 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       0101
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34.11
          Edward Don & Company                                                  Contingent
          2562 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number       8286
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,465.94
          Efrains Janitorial Services                                           Contingent
          11993 Braveheart                                                      Unliquidated
          El Paso, TX 79936                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 29 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,866.65
          El Paso Disposal                                                      Contingent
          5539 El Paso Dr                                                       Unliquidated
          El Paso, TX 79905-2907                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage disposal
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $268.27
          El Paso Water                                                         Contingent
          P.O. Box 511                                                          Unliquidated
          El Paso, TX 79961-0511                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Utility
          Last 4 digits of account number       1302
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $804,152.12
          Flix Brewhouse LLC                                                    Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Intercompany
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $821.05
          Flix Brewhouse Texas II LLC                                           Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Intercompany
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,418.03
          Flix Brewhouse Texas IV                                               Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Intercompany
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $14,399,061.13
          Flix Entertainment LLC                                                Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Intercompany
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $94,007.32
          Gift certificates - Creditors unknown                                 Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Gift certificates
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 30 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $342.14
          Grandstand                                                            Contingent
          P.O. Box 3497                                                         Unliquidated
          Wichita, KS 67201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,285.00
          Green Arrow Environmental Services                                    Contingent
          7651 Esters Boulevard                                                 Unliquidated
          Suite 200                                                             Disputed
          Irving, TX 75063
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,426.00
          Homefield Grill                                                       Contingent
          2000 S Interstate 35                                                  Unliquidated
          Ste Q11                                                               Disputed
          Round Rock, TX 78681
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $147.27
          IFC Films LLC                                                         Contingent
          11 Penn Plaza                                                         Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Irma Najera                                                           Contingent
          c/o Huyhn Law Firm
                                                                                Unliquidated
          1742 N. Zaragoza Rd. Ste A
          El Paso, TX 79936                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Lawsuit, case No 21-005971
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $844.35
          Jesse's Window Cleaning                                               Contingent
          6527 Cheyenne Trail                                                   Unliquidated
          El Paso, TX 79925                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38.79
          Knife Guys Inc                                                        Contingent
          3412 Stanford Drive                                                   Unliquidated
          Albuguerque, NM 87107-2020                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 31 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          L&F Distributors                                                      Contingent
          6949 Market Avenue                                                    Unliquidated
          El Paso, TX 79915                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189.83
          Loomis                                                                Contingent
          Dept 0757                                                             Unliquidated
          Po Box 120757                                                         Disputed
          Dallas, TX 75312-1757
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number       1570                         Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $113.10
          McMaster-Carr                                                         Contingent
          P.O. Box 7690                                                         Unliquidated
          Chicago, IL 60680-7690                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,233.19
          Nova Clean                                                            Contingent
          5641 Valley Elder                                                     Unliquidated
          El Paso, TX 79932                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $781.08
          Office Depot                                                          Contingent
          Po Box 660113                                                         Unliquidated
          Dallas, TX 75266-0113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,409.38
          PyroCom Systems                                                       Contingent
          820 Kastrin                                                           Unliquidated
          El Paso, TX 79907                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125.05
          Rodriguez Produce Inc                                                 Contingent
          125 N Stevens St                                                      Unliquidated
          El Paso, TX 79905                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 32 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,094.95
          Secured Retail Networks                                               Contingent
          9963 Muirlands Blvd                                                   Unliquidated
          Irving, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $389.48
          Shoes For Crews LLC                                                   Contingent
          P.O. Box 734176                                                       Unliquidated
          Chicago, IL 60673-4176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $178.68
          Swank Motion Pictures                                                 Contingent
          2844 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,801.28
          Sysco New Mexico                                                      Contingent
          601 Comanche Rd NE                                                    Unliquidated
          Albuquerque, NM 87107                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $383.72
          Sysco Texas                                                           Contingent
          1260 Schwab Road                                                      Unliquidated
          New Braunfels, TX 78132-5155                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Texas Alcoholic Beverage Commission                                   Contingent
          Licenses and Permits Division                                         Unliquidated
          P. O. Box 13127                                                       Disputed
          Austin, TX 78711
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Texas Workforce Commission                                            Contingent
          TWC Building - Regulatory Integrity Div                               Unliquidated
          101 East 15th Street                                                  Disputed
          Austin, TX 78778
                                                                             Basis for the claim:    Notice only
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 7 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 33 of
                                                36
 Debtor       Flix Brewhouse Texas V LLC                                                              Case number (if known)            21-30526
              Name

 3.43      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $7,160.74
           Trane US Inc                                                         Contingent
           P.O. Box 845053                                                      Unliquidated
           Dallas, TX 75284-5053                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.44      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $813.95
           Ushio America Inc                                                    Contingent
           P.O. Box 7474                                                        Unliquidated
           Chicago, IL 60677                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.45      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $5,273.94
           Venue Valet CC LLC                                                   Contingent
           6601 Vaught Ranch Rd                                                 Unliquidated
           Suite 101                                                            Disputed
           Austin, TX 78730
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.46      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $530.78
           Vistar Corporation                                                   Contingent
           P.O. Box 951080                                                      Unliquidated
           Dallas, TX 75395                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.47      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $622.21
           Woodward Center Inc                                                  Contingent
           2000 S Interstate 35                                                 Unliquidated
           Ste Q11                                                              Disputed
           Round Rock, TX 78681
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   15,417,265.52

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      15,417,265.52




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 8 of 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 34 of
                                                36
 Fill in this information to identify the case:

 Debtor name         Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30526
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Carbonation equipment
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                Unknown                     Airgas International Carbonation
                                                                                      2530 Sever Road
              List the contract number of any                                         Suite 300
                    government contract                                               Dallas, TX 75373


 2.2.         State what the contract or                  Staffing agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                Unknown                     Cinema Breweries Inc
                                                                                      2000 S Interstate 35
              List the contract number of any                                         Ste Q11
                    government contract                                               Round Rock, TX 78681


 2.3.         State what the contract or                  Dishwasher equipment
              lease is for and the nature of              service agreement
              the debtor's interest

                  State the term remaining                Unknown
                                                                                      Ecolab Institutional
              List the contract number of any                                         P.O. Box 70343
                    government contract                                               Chicago, IL 60673


 2.4.         State what the contract or                  Waste disposal, trash
              lease is for and the nature of              service
              the debtor's interest

                  State the term remaining                Unknown
                                                                                      El Paso Disposal
              List the contract number of any                                         5539 El Paso Dr
                    government contract                                               El Paso, TX 79905-2907




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
        21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 35 of
                                                36
 Debtor 1 Flix Brewhouse Texas V LLC                                                         Case number (if known)   21-30526
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Management
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                                           Flix Entertainment LLC
                                                                                     2000 S Interstate 35
             List the contract number of any                                         Ste Q11
                   government contract                                               Round Rock, TX 78681


 2.6.        State what the contract or                   Beverage fountain
             lease is for and the nature of               equipment
             the debtor's interest

                  State the term remaining                Unknown
                                                                                     Pepsi Beverage Company
             List the contract number of any                                         3825 106th Street
                   government contract                                               Urbandale, IA 50322


 2.7.        State what the contract or                   Lease agreement for
             lease is for and the nature of               6450 N Desert Blvd,
             the debtor's interest                        Bldg 12, El Paso, TX
                                                          79912
                                                          See Schedule A/B #55
                  State the term remaining
                                                                                     ROP Artcraft LLC
             List the contract number of any                                         106 Mesa Park Drive
                   government contract                                               El Paso, TX 79912


 2.8.        State what the contract or                   Server contract
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Unknown
                                                                                     Spotlight Cinema Networks
             List the contract number of any                                         P.O. Box 102033
                   government contract                                               Pasadena, CA 91189


 2.9.        State what the contract or                   Beverage management
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                Uknown                     Woodward Center Inc
                                                                                     2000 S Interstate 35
             List the contract number of any                                         Ste Q11
                   government contract                                               Round Rock, TX 78681




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
      21-30526-hcm Doc#32 Filed 07/26/21 Entered 07/26/21 17:49:21 Main Document Pg 36 of
                                              36
 Fill in this information to identify the case:

 Debtor name         Flix Brewhouse Texas V LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-30526
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
